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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 ROY ADLARD, On Behalf of Himself and              )
 All Others Similarly Situated,                    )   Civil Action No. 18-cv-12332-WGY
                                                   )
                         Plaintiff,                )
                                                   )
         v.                                        )   NOTICE OF VOLUNTARY
                                                   )   DISMISSAL
                                                   )
 OVASCIENCE, INC., CHRISTOPHER                     )
 KROEGER, RICHARD ALDRICH, JEFFREY                 )
 D. CAPELLO, MARY FISHER, JOHN                     )
 HOWE, III, MARC KOZIN, and JOHN                   )
 SEXTON,                                           )
                                                   )
                         Defendants.               )
                                                   )
                                                   )

        PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Roy Adlard (“Plaintiff”) voluntarily dismisses the above-captioned action (the “Action”)

with prejudice as to his individual claims, and without prejudice as to the claims of the putative

class. Because this notice of dismissal is being filed before service by the defendants of either an

answer or a motion for summary judgment, Plaintiff's dismissal of the Action is effective upon

filing of this notice.

 Dated: July 30, 2019

                                                 By /s/ Mitchell J. Matorin
                                                    Mitchell J. Matorin (BBO# 649304)
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